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                          IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

 CYWEE GROUP LTD.,                               §
                                                 §
             Plaintiff,                          §
                                                 §   C.A. NO. 6:20-CV-00128-ADA-JCM
 v.                                              §
                                                 §
 GOOGLE LLC,                                     §
                                                 §
             Defendant.                          §

                 ORDER AND REPORT AND RECOMMENDATION OF
                    THE UNITED STATES MAGISTRATE JUDGE

TO:   THE HONORABLE ALAN D ALBRIGHT,
      UNITED STATES DISTRICT JUDGE

       This Order and Report and Recommendation is submitted to the Court pursuant to 28

U.S.C. § 636(b)(1)(C), Fed. R. Civ. P. 72(b), and Rules 1(f) and 4(b) of Appendix C of the Local

Rules of the United States District Court for the Western District of Texas, Local Rules for the

Assignment of Duties to United States Magistrate Judges. Before the Court is Defendant Google

LLC’s Motion to Dismiss First Amended Complaint (Def.’s Mot. to Dismiss, ECF No. 11,

hereafter “Motion to Dismiss”), Plaintiff’s Motion for Jurisdictional Discovery (Pl.’s Mot. for

Jurisdictional Disc., ECF No. 17), Defendant’s Opposition to Plaintiff’s Motion for Jurisdictional

Discovery (Def.’s Opp’n to Pl.’s Mot. for Jurisdictional Disc., ECF No. 18), Plaintiff’s Response

to Defendant’s Motion to Dismiss (Pl.'s Resp. to Def.’s Mot. to Dismiss, ECF No. 23), Defendant’s

Reply in Support of its Motion to Dismiss (Def.’s Reply in Supp. of its Mot. to Dismiss, ECF No.

24), Plaintiff’s Motion for Leave to File Sur-Reply (Pl.’s Mot. for Leave, to File Sur-Reply ECF

No. 25), and Defendant Google LLC’s Response to Plaintiff’s Motion for Leave to File Sur-Reply

(Def.’s Resp. to Pl.’s Mot. for Leave to File Sur-Reply, ECF No. 26).




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        For the reasons discussed below, the Court ORDERS the Motion for Jurisdictional

Discovery and the Motion for Leave to File Sur-Reply be DENIED and RECOMMENDS that

Defendant’s Motion to Dismiss be GRANTED IN PART AND DENIED IN PART and that

Plaintiff’s Complaint be DISMISSED WITHOUT PREJUDICE pursuant to Federal Rule of

Civil Procedure 12(b)(2).

                                         I. Background

        Plaintiff CyWee Group Ltd. (“Plaintiff” or “CyWee”) filed this action on February 18,

2020 alleging fraud against Defendant Google LLC (“Defendant” or “Google”). Pl.’s First Am.

Compl. at 1, ECF No. 4. CyWee is a corporation existing under the laws of the British Virgin

Islands with its principal place of business at 3F, No. 28, Lane 128, Jing Ye 1st Road, Taipei,

Taiwan 10462. Id. CyWee is a technology company with a significant patent portfolio and is a

market leader in the areas of motion processing, facial tracking technology, and wireless high

definition video delivery. Id. The patents involved in this case include U.S. Patent No. 8,441,438

(the “438 patent”) and U.S. Patent No. 8,552,978 (The “978 patent”) (collectively “CyWee’s

Patents”). Id.

        Defendant Google LLC is a Delaware limited liability company and a wholly owned

subsidiary of XXVI Holdings Inc., a Delaware corporation that is a wholly owned subsidiary of

Alphabet Inc. a Delaware corporation and a publicly traded company. Id. at 2. Google’s principal

place of business is at 1600 Amphitheatre Parkway, Mountain View, California 94043. Id.

        CyWee pleads that this Court has specific personal jurisdiction over Google because

Google committed a tort in whole or in part within the State of Texas. Id. at 3. CyWee also avers

that the suit arises in part from Google’s contacts with the State of Texas which “include, but are

not limiting [sic] to: (1) directing its fraudulent misrepresentations to Texas, (2) knowingly and




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intentionally injecting itself into litigation pending in the State of Texas, and (3) conspiring with

Texas based entities Huawei and ZTE.” Id. In addition, CyWee pleads that this Court’s exercise

of jurisdiction over Google does not offend traditional notions of fair play and substantial justice

and is consistent with the constitutional due process requirements. Id.

       CyWee notes that Google maintains a significant business presence in Texas with offices

in Austin and avers that litigating in this District does not impose any significant burden on Google.

Id. CyWee further argues that Texas has a significant interest in protecting against fraud directed

to and related to Texas. Id.

       CyWee notes in its complaint that Google sought to pursue an inter partes review (“IPR”)

proceeding before the United States Patent and Trademark Office (“USPTO”) to invalidate

CyWee’s patents. Id. at 13-14. CyWee alleges that LG, ZTE, and other Android device

manufacturers formed a joint defense group to invalidate CyWee’s Patents. Id. at 14. Google

denies the existence of the joint defense group with the goal of invalidating CyWee’s patents.

Def.’s Mot. to Dismiss at 6, ECF No. 11. In response to CyWee’s fraud claim, Google argues the

common law fraud claim should be dismissed because there is no personal jurisdiction. Id. at 1.

Google asserts the Court lacks personal jurisdiction because Google is not “at home” in Texas. Id.

Google also claims the Court lacks specific personal jurisdiction because Texas has no meaningful

relationship to CyWee’s fraud allegation as the PTAB proceedings occurred outside of Texas. Id.

       On April 16, 2020, Google filed its Motion to Dismiss. Def.’s Mot. to Dismiss at 1, ECF

No. 11. In response, on May 8, 2020, CyWee filed a Motion for Jurisdictional Discovery. Pl.’s

Mot. for Jurisdictional Disc. at 1, ECF No. 17. Thereafter, Responses and Replies were filed for

both motions. CyWee filed a Motion for Leave to File Sur-Reply on July 14, 2020. Pl.’s Sur-Reply




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in Opp’n to Def.’s Mot. to Dismiss at 1, ECF No. 25. Google filed its Response on July 20, 2020.

Def.’s Resp. to Pl.’s Mot. for Leave to File Sur-Reply, ECF No. 26.

                                             II. Legal Standard

A. Personal Jurisdiction.

        Federal Rule of Civil Procedure 12(b)(2) governs dismissal for “lack of personal

jurisdiction.” Fed. R. Civ. P. 12(b)(2). “Where a defendant challenges personal jurisdiction, the

party seeking to invoke the power of the court bears the burden of proving that jurisdiction exists.

The plaintiff need not, however, establish jurisdiction by a preponderance of the evidence; a prima

facie showing suffices. This court must resolve all undisputed facts submitted by the plaintiff, as

well as all facts contested in the affidavits, in favor of jurisdiction.” Luv N' care, Ltd. v. Insta–Mix,

Inc., 438 F.3d 465, 469 (5th Cir. 2006) (internal citations omitted); Soto v. Vanderbilt Mortg. &

Fin., Inc., No. CIV.A. C-10-66, 2010 WL 1790177, at *3 (S.D. Tex. May 3, 2010). A dismissal

for lack of personal jurisdiction is not a judgment on the merits, and thus, is not a dismissal with

prejudice. See Fed. R. Civ. P. 41(b); Am. Realty Tr., Inc. v. Hamilton Lane Advisors, Inc., 115 Fed.

App’x 662, 666-67 (5th Cir. 2004).

        A federal court may exercise personal jurisdiction over a foreign defendant if (1) that

defendant has purposely availed himself of the benefits and protections of the forum state by

establishing minimum contacts with the forum state, and (2) the exercise of jurisdiction over that

defendant does not offend traditional notions of fair play and substantial justice. See Panda

Brandywine Corp. v. Potomac Elec. Power Co., 253 F.3d 865, 867 (5th Cir. 2001) (quoting Int'l

Shoe Co. v. State of Washington, 326 U.S. 310, 316 (1945)). Both of these requirements must be

met in order to comply with due process. Id. The Texas long-arm statute authorizes the exercise of




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personal jurisdiction to the limits allowed by the Due Process Clause of the Fourteenth

Amendment. See Tex. Civ. Prac. & Rem. Code Ann. § 17.042 (West 1997).

       “A defendant establishes minimum contacts with a state if ‘the defendant’s conduct and

connection with the forum state are such that [he] should reasonably anticipate being haled into

court there.’” Nuovo Pignone, SpA v. Storman Asia M/V, 310 F.3d 374, 379 (5th Cir. 2002)

(quoting Burger King Corp. v. Rudzewicz, 471 U.S. 462, 474 (1985)). The Fifth Circuit applies a

three-step analysis for this specific jurisdiction issue: (1) whether the defendant has minimum

contacts with the forum state, i.e., whether it purposely directed its activities toward the forum

state or purposefully availed itself of the privileges of conducting activities there; (2) whether the

plaintiff’s cause of action arises out of or results from the defendant’s forum related contacts; and

(3) whether the exercise of personal jurisdiction is fair and reasonable. Monkton Ins. Servs. v.

Ritter, 768 F.3d 429, 433 (5th Cir. 2014) (citing Seiferth v. Helicopteros Atuneros, Inc., 472 F.3d

266, 271 (5th Cir. 2006)). The Supreme Court has stated that for a state to exercise jurisdiction

consistent with due process, the defendant’s suit-related conduct must create a substantial

connection with the forum state. Walden v. Fiore, 571 U.S. 277, 284 (2014).

       A few principles have emerged to help guide a court’s understanding of personal

jurisdiction. First, a defendant’s contacts with the forum must be “contacts that the ‘defendant

himself’ creates with the forum State.” Id. (quoting Burger King, 471 U.S. at 475). Second, the

principles and limits of jurisdiction “principally protect the liberty of the nonresident defendant—

not the convenience of the plaintiff or third parties.” Walden, 571 U.S. at 284 (citing World–Wide

Volkswagen Corp. v. Woodson, 444 U.S. 286, 291-92 (1980)).

       The Supreme Court has “consistently rejected attempts to satisfy the defendant-focused

‘minimum contacts’ inquiry by demonstrating contacts between the plaintiff (or third parties) and




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the forum State.” Id. “Put simply, however significant the plaintiff’s contacts with the forum may

be, those contacts cannot be ‘decisive in determining whether the defendant’s due process rights

are violated.’” Id. (quoting Rush v. Savchuk, 444 U.S. 320, 332 (1980)). Stated another way, “the

plaintiff cannot be the only link between the defendant and the forum. Rather, it is the defendant’s

conduct that must form the necessary connection with the forum State that is the basis for its

jurisdiction over him.” Id.

B. Jurisdictional Discovery.

       The district court has broad discretion on whether to permit a party to conduct jurisdictional

discovery. Wyatt v. Kaplan, 686 F.2d 276, 283 (5th Cir. 1982). A plaintiff is not entitled to conduct

jurisdictional discovery unless he first makes “a preliminary showing of jurisdiction.” Fielding v.

Hubert Burda Media, Inc., 415 F.3d 419, 429 (5th Cir. 2005). For a plaintiff to make this showing,

he must present “factual allegations that suggest with reasonable particularity the possible

existence of the requisite contacts.” Id. (quoting Toys “R” Us, Inc. v. Step Two, 318 F. 3d 446,

456 (3rd Cir. 2003)).

       In other words, the plaintiff must state what facts he believes discovery would uncover and

how those facts would support personal jurisdiction. Kelly v. Syria Shell Petroleum Dev. B.V., 213

F.3d 841, 855 (5th Cir.), cert. denied, 531 U.S. 979 (2000). In contrast, “[w]hen the lack of

personal jurisdiction is clear, discovery would serve no purpose and should not be permitted.”

Wyatt, 686 F.2d at 284. Accordingly, the Fifth Circuit has approved the denial of jurisdictional

discovery where the discovery sought “could not have added any significant facts.” Id.




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                                          III. Discussion

A. CyWee’s Motion for Leave to File Sur-Reply is denied.

       As discussed in Section III(C), infra, the Court has ultimately determined that it lacks

personal jurisdiction over Defendant Google. As a result, the Court will not make a determination

on Defendant’s 12(b)(6) grounds for dismissal. See Section III(D), infra. Plaintiff’s proposed Sur-

Reply only addresses 12(b)(6) issues. See Pl.’s Proposed Sur-Reply, ECF No. 25-1. Accordingly,

the Court ORDERS Plaintiff’s Motion for Leave to File Sur-Reply (ECF No. 25) DENIED.

B. CyWee’s request for jurisdictional discovery is not appropriate because it has not shown
that discovery would produce the facts needed to withstand a 12(b)(2) motion.

       It its Motion for Jurisdictional Discovery, CyWee repeats the same allegations of specific

jurisdiction from its First Amended Complaint, namely, that “Google’s contacts include, but are

not limiting [sic] to: (1) directing its fraudulent misrepresentations to Texas, (2) knowingly and

intentionally injecting itself into litigation pending in the State of Texas, and (3) conspiring with

Texas based entities Huawei and ZTE.” Pl.’s Mot. for Jurisdictional Disc. at 1-2, ECF No. 17.

CyWee argues that this allegation shows the possible existence of jurisdiction in Texas and

therefore the burden of establishing entitlement to jurisdictional discovery is met. Pl.’s Reply in

Supp. of Mot. for Jurisdictional Disc. at 3, ECF No. 19. CyWee argues the jurisdictional discovery

is not a “fishing expedition,” but rather an attempt to prove Google’s conspiracy with Android

phone makers and the connection to a separate Eastern District of Texas case involving Samsung

and CyWee. Id.

       Google argues CyWee never made a preliminary showing of jurisdiction and does not

explain how jurisdictional discovery will uncover specific facts that would support jurisdiction.

Def.’s Opp’n to Pl.’s Mot. for Jurisdictional Disc. at 5, ECF No. 18. In addition, Google argues

CyWee fails to describe how jurisdictional discovery will resolve any factual disputes necessary



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to withstand Google’s Motion to Dismiss. Id. Google’s jurisdictional arguments are based entirely

on CyWee’s own allegations. Id. at 5-6. CyWee did not offer any factual allegations related to the

conspiracy with Huawei and ZTE and describe how the discovery would connect the Eastern

District of Texas litigation to those parties. Id. at 6.

        CyWee hopes to discover information about a conspiracy between Google and Samsung

related to the Bachmann prior art reference1 in a separate Eastern District of Texas case. Id. Google

avers that the PTAB already held that this claim was baseless and, even if true, the conspiracy

would not bear on this litigation. Id. at 6-7. CyWee’s fraud claim is based on Google’s party-in-

interest disclosures in its IPR petitions filed with the U.S. Patent and Trademark Office that CyWee

alleges knowingly omitted LG and Samsung causing injury to CyWee. Pl.’s Mot. for Jurisdictional

Disc. at 1, ECF No. 17.

        The Court, therefore, is at a loss for how specious, conclusory allegations that Google

engaged in “meetings” with Samsung in Texas would bear on this Court’s jurisdiction over

Google. Even if the meetings in fact occurred (an allegation that Google emphatically denies), the

crux of CyWee’s Complaint turns on actions Google allegedly took in a PTAB proceeding in

Virginia. See Def.’s Opp’n to Pl.’s Mot. for Jurisdictional Disc. at 1. Further, evidence that Google

consulted with Samsung on the Eastern District of Texas litigation would not be sufficient to confer

personal jurisdiction over Google. See Section III(C), infra. The Court should not “permit

discovery on matters of personal jurisdiction unless [Google’s] motion to dismiss raises issues of




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 CyWee describes the Bachmann reference as “the key reference that supported Google’s [in partes review
petitions].” Pl.’s Mot. for Jurisdictional Disc. at 3-4. CyWee generally contends that Google conspired with
Samsung to have Samsung drop the Bachmann prior art reference in Eastern District of Texas case so that “the
Bachmann reference in the IPR would not be preempted or compromised by an earlier ruling in the fast approaching
EDTX Litigation.” Pl.’s Reply in Supp. of Mot. for Jurisdictional Disc. at 3.


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fact” jurisdictional discovery would resolve. Catalyst Medium Four, Inc. v. CardShark, LLC, 2015

WL 1412591, at 8 (W.D. Tex. Mar. 26, 2015).

        The district court has broad discretion on whether to permit a party to conduct jurisdictional

discovery. Wyatt v. Kaplan, 686 F.2d 276, 283 (5th Cir. 1982). The Fifth Circuit has approved the

denial of jurisdictional discovery where the discovery sought “could not have added any significant

facts.” Id. Given CyWee’s inability to establish a prima facie case for personal jurisdiction, it is

unlikely additional discovery information on Google’s contacts with Texas would add any

“significant facts,” especially because the theories on which CyWee seeks discovery would not

confer personal jurisdiction over Google. Alpine View Co. v. Atlas Copco AB, 205 F.3d 208, 221

(5th Cir. 200). Therefore, the Court ORDERS CyWee’s Motion for Jurisdictional Discovery be

DENIED.

C. This Court does not have personal jurisdiction over Google.

        Google does not have minimum contacts with Texas sufficient to establish personal

jurisdiction by this Court. First, there can be no general jurisdiction in Texas over Google because

Google’s place of incorporation is Delaware and principal place of business is in California. Pl.’s

First Am. Compl. at 2, ECF No. 4; see Daimler AG v. Bauman, 571 U.S. 117, 122 (2014).

Therefore, CyWee must establish specific jurisdiction over Google to establish personal

jurisdiction.

        CyWee cannot establish specific jurisdiction in this case. CyWee’s fraud claim does not

arise out of or relate to Google’s contacts with Texas. Sangha v. Navig8 ShipManagement, 882

F.3d 96, 101 (5th Cir. 2018). “A defendant establishes minimum contacts with a state if ‘the

defendant’s conduct and connection with the forum state are such that [he] should reasonably

anticipate being haled into court there.’” Nuovo Pignone, SpA v. Storman Asia M/V, 310 F.3d 374,




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379 (5th Cir. 2002) (quoting Burger King Corp. v. Rudzewicz, 471 U.S. 462, 474 (1985)). The

Fifth Circuit applies a three-step analysis for this specific jurisdiction issue: (1) whether the

defendant has minimum contacts with the forum state, i.e., whether it purposely directed its

activities toward the forum state or purposefully availed itself of the privileges of conducting

activities there; (2) whether the plaintiff’s cause of action arises out of or results from the

defendant’s forum related contacts; and (3) whether the exercise of personal jurisdiction is fair and

reasonable. Monkton Ins. Servs. v. Ritter, 768 F.3d 429, 433 (5th Cir. 2014) (citing Seiferth v.

Helicopteros Atuneros, Inc., 472 F.3d 266, 271 (5th Cir. 2006)). The Supreme Court has stated

that for a court to exercise jurisdiction consistent with due process, the defendant’s suit-related

conduct must create a substantial connection with the forum state. Walden v. Fiore, 571 U.S. 277,

284 (2014).

       CyWee’s fraud claim is premised on Google’s omission of Samsung and LG as parties-in-

interest in its IPR petitions filed with the PTAB in Virginia, but the events related to those

proceedings did not occur in Texas. Pl.’s First Am. Compl. at 17, 20, ECF No. 4. CyWee cites

three Texas “contacts” made by Google to establish specific jurisdiction: (1) Google directing its

fraudulent misrepresentation to Texas, (2) Google knowingly and intentionally injecting itself into

litigation pending in the State of Texas, and (3) Google conspiring with Texas based entities

Huawei and ZTE.” Id. at 2.

       First, the misrepresentations in Google’s IPR petition were not directed to Texas but rather

to Virginia. CyWee claims Google omitted LG and Samsung as parties-in-interest in its IPR

petitions filed with the PTAB in Virginia, but none of those events happened in Texas. Def.’s Mot.

to Dismiss at 10, ECF No. 11. Google’s lead counsel in the IPR proceedings, Smith Baluch LLP,

is located in California and Washington, D.C. and not Texas. Id. CyWee claims a connection to




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Texas because fraudulent misrepresentations were sent to CyWee’s counsel in Texas. Pl.’s First

Am. Compl. at 20, ECF No. 4. In addition, CyWee claims “Google directed its IPR petition and

false disclosures to the [PTAB] with the intention that the misrepresentations reach CyWee and

induce CyWee’s reliance.” Id. But CyWee requested additional discovery into the parties-in-

interest, which the PTAB denied. Def.’s Reply in Supp. of its Mot. to Dismiss at 3, ECF No. 24.

CyWee also moved to terminate the IPR based on the party-in-interest issue which the PTAB

denied. Id. No legal support was offered by CyWee that mere service of an IPR petition filed in

the PTAB confers jurisdiction. Id. Service alone is insufficient for personal jurisdiction. Allred v.

Moore & Peterson, 117 F.3d 278, 287 (5th Cir. 1997). Google’s service of process to CyWee’s

attorney in the PTAB proceeding did not establish personal jurisdiction.

       Second, Google did not appear in the Eastern District of Texas litigation. In fact, CyWee

avers only that it discussed strategy with defense counsel. Pl.’s Mot. for Jurisdictional Disc. at 3-

4, ECF No. 17. Participating in litigation in this manner cannot itself subject Google to the Court’s

jurisdiction. See Halliburton Energy Servs. V. Ironshore Specialty Ins., 921 F.3d 522, 541 (5th Cir.

2019). Conduct furthering litigation strategy does not provide necessary contacts for personal

jurisdiction. Columbia Sportswear N.A. v. Seirus Innovative Accessories, WL 1865858, at *5 (D.

Or. Apr. 14, 2020). Alleging a bad act like fraud “may be sufficient to state a claim for relief, but

it is not sufficient to plead jurisdiction.” Id. Google’s alleged involvement in the Eastern District

of Texas litigation does not confer jurisdiction.

       Third, Huawei and ZTE are not parties or otherwise alleged to have a meaningful

connection to this suit. CyWee claims Huawei and ZTE, who are headquartered in Texas, are

connected to this suit through a “joint defense group with the purpose of invalidating CyWee’s

patents. Pl.’s First Am. Compl. at 14, ECF No. 4. Courts do not “credit conclusory allegations,




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even if uncontroverted,” including those made “on information and belief.” Panda Brandywine

Corp. v. Potomac Elec. Power Co., 253 F.3d 865, 868-69 (5th Cir. 2001). CyWee’s allegations are

conclusory and do not confer jurisdiction.

       Because CyWee has not shown sufficient contacts with Texas, this Court lacks personal

jurisdiction and dismissal under Rule 12(b)(2) is appropriate. The Court, therefore,

RECOMMENDS that Defendant’s Motion to Dismiss be GRANTED IN PART with respect to

the 12(b)(2) ground.

D. Due to a lack of personal jurisdiction the Court does not address the merits of the
additional claims.

       Because this Court lacks personal jurisdiction, the Court does not reach the other issues

raised in Google’s Motion to Dismiss. Ruhrgas A.G. v. Marathon Oil Co., 526 U.S. 574, 584

(1999) (noting personal jurisdiction is an essential element of the jurisdiction of a district court

without which the court is powerless to proceed to an adjudication). For a federal court to reach

the merits of a claim, it must first have jurisdiction. See id.; Lorenz v. Tex. Workforce Comm’n,

211 Fed. App’x 242, 244 (5th Cir. 2006); Stockman v. Fed. Election Comm’n, 138 F.3d 144, 151

(5th Cir. 1998) (noting that without jurisdiction, federal courts lack the power to adjudicate

claims). Because personal jurisdiction with respect to Google has not been established,

Defendant’s Motion should be DENIED AS MOOT with respect to the other grounds raised in

the Motion.

                                  IV. RECOMMENDATION

       After thoroughly reviewing the record, the undersigned ORDERS the Plaintiff’s Motion

for Jurisdictional Discovery and the Motion for Sur-Reply be DENIED. The undersigned

RECOMMENDS that Defendant’s Motion to Dismiss be GRANTED IN PART with respect to

the 12(b)(2) ground and DENIED AS MOOT with respect to the other grounds raised in



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Defendant’s Motion, and that Plaintiff’s action be DISMISSED WITHOUT PREJUDICE

pursuant to Federal Rule of Civil Procedure (12)(b)(2).

                                           V. OBJECTIONS

       The parties may wish to file objections to this Order and Report and Recommendation.

Parties filing objections must specifically identify those findings or recommendations to which

they object. The District Court need not consider frivolous, conclusive, or general objections.

Battle v. U.S. Parole Comm’n, 834 F.2d 419, 421 (5th Cir. 1987).

       A party’s failure to file written objections to the proposed findings and recommendations

contained in this Report within fourteen (14) days after the party is served with a copy of the

Report shall bar that party from de novo review by the District Court of the proposed findings and

recommendations in the Report. See 28 U.S.C. § 636(b)(1)(C); Thomas v Arn, 474 U.S. 140, 150-

53 (1985); Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415 (5th Cir. 1996) (en banc). Except

upon grounds of plain error, failing to object shall further bar the party from appellate review of

unobjected-to proposed factual findings and legal conclusions accepted by the District Court. See

28 U.S.C. § 636(b)(1)(C); Thomas, 474 U.S. at 150-53; Douglass, 79 F.3d at 1415.

SIGNED this 18th day of August, 2020.




                                      JEFFREY C. MANSKE
                                      UNITED STATES MAGISTRATE JUDGE




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